MANDATE
               Case 1:15-cv-02739-LAP
                 Case 16-3303, DocumentDocument  75 Filed 04/17/19
                                        194-1, 04/17/2019,          Page 1ofof145
                                                           2542171, Page1


                              UNITED STATES COURT OF APPEALS            1:15-cv-02739-LAP
                                            FOR THE
                                       SECOND CIRCUIT
                         ______________________________________________

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     10th day of July, two thousand and eighteen.

     Before:     Ralph K. Winter,
                 Guido Calabresi,
                 Denny Chin,
                        Circuit Judges.                                                          Apr 17 2019
     _______________________________________

     Petersen Energia Inversora S.A.U. and Petersen
     Energia, S.A.U.,                                    JUDGMENT
                                                         Docket Nos. 16-3303(L), 16-3304 (Con.)
                 Plaintiffs-Appellees,

     v.

     Argentine Republic and YPF S.A.,

               Defendants-Appellants.
     _______________________________________

            The appeal in the above captioned case from an order of the United States District Court for
     the Southern District of New York was argued on the district court’s record and the parties’ briefs.
     Upon consideration thereof,

             IT IS HEREBY ORDERED, ADJUDGED and DECREED that the order of the district
     court is AFFIRMED in part and DISMISSED in part.


                                                   For the Court:

                                                   Catherine O=Hagan Wolfe,
                                                   Clerk of Court




MANDATE ISSUED ON 04/17/2019
              Case
               Case1:15-cv-02739-LAP
                     16-3303, DocumentDocument  75 Filed 2542171,
                                      194-2, 04/17/2019, 04/17/19 Page1
                                                                   Page 2ofof3945



16‐3303‐cv(L)
Petersen Energía Inversora, S.A.U., et al. v. Argentine Republic, et al.

                                  UNITED STATES COURT OF APPEALS
                                      FOR THE SECOND CIRCUIT



                                                   August Term 2016

                          (Argued: June 15, 2017 Decided: July 10, 2018)

                              Docket Nos. 16‐3303‐cv(L), 16‐3304‐cv(Con)



          PETERSEN ENERGÍA INVERSORA S.A.U. AND PETERSEN ENERGÍA, S.A.U.,

                                                                           Plaintiffs‐Appellees,

                                                                v.

                                     ARGENTINE REPUBLIC AND YPF S.A.,

                                                                           Defendants‐Appellants.*




                       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF NEW YORK



Before:
                             WINTER, CALABRESI, AND CHIN, Circuit Judges.




          *         The Clerk of Court is directed to amend the official caption to conform to
the above.
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page2
                                                             Page 3ofof3945




             Appeal from an order of the United States District Court for the

Southern District of New York (Preska, J.), denying defendants‐appellantsʹ

motion to dismiss under (1) Federal Rule of Civil Procedure 12(b)(1) for lack of

subject matter jurisdiction on grounds of foreign sovereign immunity and

(2) Federal Rule of Civil Procedure 12(b)(6) pursuant to the act of state doctrine.

             AFFIRMED IN PART AND DISMISSED IN PART.

             Judge WINTER concurs in part and dissents in part in a separate
opinion.



                                MICHAEL K. KELLOGG (Mark C. Hansen, Derek T.
                                    Ho, Benjamin S. Softness, on the brief),
                                    Kellogg, Hansen, Todd, Figel & Frederick,
                                    P.L.L.C., Washington, D.C., and Reginald R.
                                    Smith, King & Spalding LLP, New York,
                                    New York, for Plaintiﬀs‐Appellees.

                                MAURA BARRY GRINALDS, Skadden, Arps, Slate,
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                                    York, and Martin Domb, Benjamin Joelson,
                                    Ackerman LLP, New York, New York, for
                                    Defendant‐Appellant Argentine Republic.

                                MICHAEL A. PASKIN, Cravath, Swaine & Moore
                                    LLP, New York, New York, and Thomas J.
                                    Hall, Marcelo M. Blackburn, Chadbourne &
                                    Parke LLP, New York, New York, for
                                    Defendant‐Appellant YPF S.A.




                                         2
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page3
                                                             Page 4ofof3945




CHIN, Circuit Judge:

             Defendants‐appellants the Argentine Republic (ʺArgentinaʺ) and

YPF S.A. (ʺYPFʺ) (together, ʺdefendantsʺ) appeal an order of the United States

District Court for the Southern District of New York (Preska, J.), denying

defendantsʹ motions to dismiss under (1) Federal Rule of Civil Procedure 12(b)(1)

for lack of subject matter jurisdiction on grounds of foreign sovereign immunity

and (2) Federal Rule of Civil Procedure 12(b)(6) pursuant to the act of state

doctrine. We aﬃrm the district courtʹs order insofar as it denied the motion to

dismiss under the Foreign Sovereign Immunity Act and we dismiss defendantsʹ

appeal as to the act of state doctrine.

                                  BACKGROUND

             Unless otherwise noted, the facts herein are undisputed. They are

drawn from the complaint and the documents submitted by the parties in

reference to defendantsʹ motions to dismiss.

I.    YPF Becomes a Publicly Traded Company

             YPF is a petroleum company that was wholly owned and operated

by the Argentine government until 1993. That year, in accordance with broader

eﬀorts to reform its economy, Argentina decided to privatize the petrol firm

through an initial public oﬀering (ʺIPOʺ) of nearly 100% of YPFʹs voting stock
                                          3
          Case
           Case1:15-cv-02739-LAP
                 16-3303, DocumentDocument  75 Filed 2542171,
                                  194-2, 04/17/2019, 04/17/19 Page4
                                                               Page 5ofof3945




(the ʺsharesʺ).1 Argentina and YPF took a number of steps to entice investors to

participate in the IPO and thereby ensure its success, two of which are

particularly relevant to this case. First, they arranged for YPF to oﬀer shares in

the United States as American Depository Receipts (ʺADRsʺ) listed on the New

York Stock Exchange (ʺNYSEʺ). Second, they amended YPFʹs bylaws ‐‐ that is,

the contract governing the relationship among YPF, Argentina (in its capacity as

a shareholder), and other YPF shareholders. In particular, the bylaws were

amended to incorporate protections for investors from (1) hostile takeovers and

(2) attempts by Argentina to renationalize the company. These takeover

protections form the basis of this breach of contract dispute, and so we describe

them in some detail.

              Section 7(d) of the amended bylaws prohibits (with certain

exceptions inapplicable here) the direct or indirect acquisition of YPF shares if


      1        Indeed, an article written by the then‐Governor of the Central Bank of
Argentina notes that ʺ[t]he reforms of the 1990s . . . included financial system reforms,
liberalization of trade and the capital account, and far‐reaching public sector reforms,ʺ
including ʺ[p]ublic sector reform, which substantially reduced the scope of
[Argentinaʹs] public sector [and] entailed privatizing almost all of the major public
enterprisesʺ in the country. Pedro Pou, Argentinaʹs Structural Reforms of the 1990s, 37
Fin. & Dev. 13, 13 (2000). Privatizing Argentinaʹs major public enterprises had three
main benefits: ʺPublic subsidies to [the formerly public] enterprises were reduced or
eliminated; the enterprisesʹ efficiency and provision of services improved dramatically;
and funds became available to cover a substantial part of the government deficit while
other reforms . . . were under way.ʺ Id.
                                            4
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page5
                                                             Page 6ofof3945




the acquisition results in the acquirer controlling 15% or more of the shares,

unless the acquirer makes a tender oﬀer for all of the outstanding shares in

accordance with certain procedures and at a price determined by a formula in

the bylaws. Among the prescribed procedures, section 7(f) requires that any

such tender oﬀer comply with the rules and regulations imposed by the

governments and stock exchanges where YPFʹs shares are listed. Because YPFʹs

securities were to be listed on the NYSE, those conducting tender oﬀers in

accordance with these shareholder protection measures would be compelled by

section 7(f) to comply with NYSE and Securities and Exchange Commission

(ʺSECʺ) rules and regulations. Section 7(f)(iv) further obligates the acquirer to

publish notice of its tender oﬀer ʺin the business section of the major newspapers

. . . in the City of New York, U.S.A. and any other city where the shares [of YPF]

shall be listed.ʺ App. 340. Perhaps most importantly for purposes of this appeal,

section 28(A) of the bylaws extends the tender oﬀer requirement of sections 7(e)

and 7(f) to:

               all acquisitions made by the [Government of Argentina],
               whether directly or indirectly, by any means or
               instrument, of shares or securities of [YPF], 1) if, as a
               consequence of such acquisition, the [Government]
               becomes the owner, or exercises the control of, the
               shares of [YPF], which, in addition to the prior holdings

                                          5
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page6
                                                             Page 7ofof3945




             thereof of any class of shares, represent, in the
             aggregate, at least 49% of the capital stock [of YPF]; or
             2) if the [Government] acquires at least 8% of class D
             outstanding shares of stock, while withholding class A
             shares of stock amounting at least to 5% of the capital
             stock.

App. 432.

             The penalties for breaching these provisions are drastic. Section 7(h)

provides that ʺ[s]hares of stock and securities acquired in breach of [the tender

oﬀer requirements] shall not grant any right to vote or collect dividends.ʺ App.

342. And section 28(C) extends such treatment to shares acquired by Argentina,

unless its breach is accidental. In that case, ʺ[t]he penalties provided for in

subsection (h) of Section 7 shall be limited . . . to the loss of the right to vote.ʺ

App. 355. At bottom, these shareholder protection measures appear to promise

investors a compensated exit from their ownership position in the firm if

Argentina were to decide to renationalize YPF.

             Argentina and YPF touted these protections in the prospectus filed

with the SEC in connection with the IPO. That document stated that ʺ[u]nder

[YPFʹs] By‐laws, in order to acquire a majority of [YPFʹs] capital stock . . . , the

Argentine Government first would be required to make a cash tender oﬀer to all

holders of [the shares] on terms and conditions specified in the By‐laws.ʺ App.


                                            6
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page7
                                                             Page 8ofof3945




23. The prospectus further stated that ʺany Control Acquisition carried out by

the Argentine Government other than in accordance with th[at] procedure . . .

will result in the suspension of the voting, dividend and other distribution rights

of the shares so acquired.ʺ Id. (alteration in original).

             By all accounts, Argentinaʹs marketing eﬀorts worked. YPF

launched a successful IPO on June 29, 1993. Through the sale of YPF securities,

Argentina raised billions of dollars in investment capital with the largest share

(more than $1.1 billion in total) coming from the sale of ADRs in the United

States on the NYSE. A firm called Repsol S.A. (ʺRepsolʺ) emerged from the IPO

as YPFʹs majority shareholder. Even after the IPO, however, Argentina

continued to participate in YPFʹs corporate governance as a commercial actor. It

remained a holder of YPFʹs Class A shares, entitling it to elect at least one

member of the firmʹs board of directors. Argentina also retained a veto right over

certain third‐party acquisitions of YPFʹs capital stock. After the IPO, YPFʹs

shares, via the ADRs, were traded publicly on the NYSE and other exchanges.

             Plaintiﬀs‐appellees Petersen Energía Inversora, S.A.U. and Petersen

Energía, S.A.U. (together, ʺPetersenʺ) entered the picture in 2008. Between 2008

and 2011, Petersen conducted a series of acquisitions and came to own



                                           7
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page8
                                                            Page 9ofof3945




approximately 25% of YPFʹs shares, held in the form of ADRs issued by the Bank

of New York Mellon in New York City. All of Petersenʹs acquisitions were made

in accordance with YPFʹs bylaws, including the tender oﬀer provisions in section

7. The bulk of Petersenʹs shares were purchased from Repsol and their purchase

was financed by Repsol and various financial institutions, which maintained a

security interest in the stock as collateral. As part of a shareholder agreement

with Petersen, Repsol agreed to cause YPF to make biannual distributions of 90%

of its profits to shareholders via dividends in accordance with section 25 of the

bylaws. Petersen often used these dividends to make payments on the loans it

used to finance the purchase of YPF stock.

            All of that changed in 2012. Early that year, members of the

Argentine government began publicly criticizing Repsolʹs and Petersenʹs

management of YPF and started discussing the prospect of renationalizing the

company. The value of YPFʹs ADRs plummeted in response to this news. To put

what happened next in the appropriate context, it helps to understand a little

about the mechanics of Argentine expropriation law.




                                         8
       Case 1:15-cv-02739-LAP
         Case 16-3303, DocumentDocument  75 Filed 04/17/19
                                194-2, 04/17/2019,          Page 10
                                                   2542171, Page9 of of
                                                                     3945




II.   Argentine Expropriation Law

             Expropriation is the ʺgovernmental taking or modification of an

individualʹs property rights.ʺ Expropriation, BLACKʹS LAW DICTIONARY (10th ed.

2014). A ʺclassic exampleʺ is the governmentʹs condemnation of a parcel of land

to make way for some public good, like a road. Murr v. Wisconsin, 137 S. Ct.

1933, 1939 (2017). The enactment of land use regulations may also, in some cases,

constitute an expropriation. See id. But these land‐based examples understate

the breadth of a sovereignʹs power of expropriation, which can be vast. That is so

because all types of property can be expropriated, whether tangible or intangible.

Personal property, airspace rights, contract rights, even the shares of a

corporation ‐‐ at least in theory, a sovereign can expropriate them all. See Penn

Cent. Transp. Co. v. City of New York, 438 U.S. 104, 128 (1978) (discussing a ʺtakingʺ

of airspace rights); accord August Reinisch, Expropriation, in The Oxford Handbook

of International Investment Law 407, 410 (Peter Muchlinski et al. eds., 2008) (ʺIt is

generally asserted that expropriation may aﬀect not only tangible property but

also a broad range of intangible assets of economic value to an investor. Property

that may be expropriated by states thus comprises immaterial rights and

interests, including in particular contractual rights.ʺ). In reality, however,



                                           9
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page10
                                                            Page 11ofof3945




whether a government may expropriate property, what property is subject to

expropriation, and how much the government must compensate the individual it

expropriated the property from (if at all) are largely questions of law of the

expropriating nation. Leo T. Kissam & Edmond K. Leach, Sovereign Expropriation

of Property and Abrogation of Concession Contracts, 28 Fordham. L. Rev. 177, 184

(1959) (ʺStates are at liberty to carry out . . . expropriations in the manner and

form they consider best; . . . they are free to operate their municipal system of

property according to their own national genius . . . .ʺ); compare Org. for Econ.

Co‐operation & Dev., ʺIndirect Expropriationʺ and the ʺRight to Regulateʺ in

International Investment Law, in International Investment Law: A Changing Landscape

43, 43‐72 (2005) (discussing limits imposed on expropriations by customary

international law). In this case, we look to Argentine law. See Garb v. Republic of

Poland, 440 F.3d 579, 594‐98 (2d Cir. 2006).

             Article 17 of Argentinaʹs National Constitution sets the conditions

under which property may be expropriated by the Argentine government. To

eﬀectuate an expropriation consistent with Article 17, two conditions must be

met: (1) the Argentine Congress must declare a public use for the property to be

expropriated and (2) the owner of the property must be compensated. The



                                          10
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page11
                                                            Page 12ofof3945




Argentine government has passed laws to clarify what property is subject to

expropriation and to specify the procedures that must be followed to meet the

conditions for expropriation.

            One such law is Law 21,499, known as the ʺGeneral Expropriation

Law.ʺ App. 57. It empowers, among other entities, the Argentine Federal

Government to act as an expropriator. As for the declaration of public use

required by Article 17 of the National Constitution, section 5 of the General

Expropriation Law clarifies that the Argentine Congress ʺshall particularly refer

to specific propertyʺ to be expropriated in its declaration and section 1 provides

that ʺ[p]ublic use, which is required as legal grounds for expropriation,

comprises all cases where public welfare may be involved.ʺ App. 185‐86. The

law further declares that ʺ[a]ll such property as may be convenient or necessary

to satisfy [that] ʹpublic useʹ purpose, whatever the legal nature thereof, whether

publicly or privately owned, or be they things or not, may be subject to

expropriation . . . .ʺ App. 186. As for compensation for that property, section 10

of the General Expropriation Law provides that the owner shall receive ʺthe

objective value of the property plus any direct and immediate damages resulting

from expropriation,ʺ such amounts to be fixed by agreement of the owner and



                                        11
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page12
                                                            Page 13ofof3945




expropriator or pursuant to a court proceeding. App. 187. And, presumably to

prevent the ownerʹs malfeasance while compensation is being fixed, section 16 of

the law proclaims that ʺ[n]o contract executed by the owner after the eﬀective

date of the law declaring the expropriation of the property and which may imply

the creation of any right or interest in the property shall be good as against the

expropriator.ʺ App. 187.

             Accordingly, with this legal backdrop in mind, we return to how

Argentina regained control over YPFʹs aﬀairs in the spring of 2012.

III.   Argentina Regains Control of YPF

             On April 16, 2012, pursuant to the General Expropriation Law,

Argentina proposed legislation that would expropriate directly from Repsol 51%

of the voting stock of YPF. On the same day, the Argentine National Executive

Oﬃce decreed that it was empowering an ʺIntervenorʺ to seize immediate control

of YPFʹs operations and to operate the company as a going concern while the

Argentine Congress considered the expropriation legislation. Action was swift.

Indeed, before some of these measures were even announced publicly, the

Intervenor seized control of YPFʹs facilities, replaced top management with

government oﬃcials, and escorted YPFʹs then‐CEO oﬀ the premises. The



                                         12
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page13
                                                            Page 14ofof3945




Intervenor also cancelled regularly‐scheduled meetings of YPFʹs board of

directors and refused to make expected dividend payments.

             Argentine oﬃcials were also quick to declare that, despite having

acquired control of the company, Argentina and YPF had no intention of

complying with the tender oﬀer provisions of YPFʹs bylaws. For example, on

April 17, 2012, in a speech before the Argentine Senate, the countryʹs Deputy

Economy Minister described as ʺfools . . . those who think that the State has to be

stupid and buy everyone according to YPFʹs own law, respecting its by‐law.ʺ

App. 29 n.1. He also dismissed the tender oﬀer requirements as ʺunfairʺ and a

ʺbear trap.ʺ Id.

             On May 3, 2012, the proposed expropriation legislation was enacted

as Law 26,741 with an eﬀective date of May 7, 2012 (the ʺYPF Expropriation

Lawʺ). In accordance with Article 17 of the National Constitution, the YPF

Expropriation Law pronounced Argentinaʹs national public interest in achieving

ʺself‐suﬃciency in hydrocarbon[] supply,ʺ App. 165, by, inter alia, integrating

ʺpublic and private . . . capital into strategic alliances aimed at the exploration

and exploitation of conventional and unconventional hydrocarbons,ʺ App. 166.

The law further provided that:



                                          13
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page14
                                                            Page 15ofof3945




             to ensure the fulfillment of the objectives of this law, the
             fifty‐one percent (51%) equity interest in YPF Sociedad
             Anónima represented by the same percentage of Class
             D shares of the said Company, held by Repsol YPF S.A.,
             its controlled or controlling entities, directly or
             indirectly, is hereby declared to be of public use and
             subject to expropriation.

App. 167. The YPF Expropriation Law also extended the Intervenorʹs control

over the firmʹs operations and granted the Argentine executive branch the right

to ʺexercise all the political rights over all the shares subject to expropriationʺ

until the expropriation, including compensation of Repsol, was finalized. App.

167.

             Argentina did indeed exercise the rights of Repsolʹs shares, using

them to cancel YPFʹs previously‐scheduled dividend payment and board

meeting in April 2012, and voted the shares at a shareholder meeting in June

2012, in contravention of section 7(h) of the bylaws. Unable to meet its loan

obligations without the dividend payment, Petersen entered insolvency

proceedings in July 2012 and its lenders foreclosed on the YPF ADRs that

Petersen had pledged as collateral. Repsol was eventually compensated for its

expropriated shares to the tune of $4.8 billion.




                                          14
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page15
                                                            Page 16ofof3945




IV.   Procedural History

             Petersen commenced this action in the district court on April 8, 2015,

alleging, inter alia, breach of contract on grounds that (1) Argentina repudiated its

obligation to make the tender oﬀer in accordance with sections 7(e) and (f) and

28 of the bylaws, (2) YPF breached its obligation to ensure Argentina made such

a tender oﬀer in light of its acquisition of Repsolʹs shares, and (3) YPF permitted

Argentina to exercise the voting rights of Repsolʹs shares and other corporate

governance powers in contravention of section 7(h) of the bylaws. Defendants

moved to dismiss the complaint, arguing, inter alia, that the district court lacked

subject matter jurisdiction under the Foreign Sovereign Immunities Act, 28 U.S.C.

§ 1601 et seq. (the ʺFSIAʺ), and that Petersenʹs claims were barred by the ʺact of

state doctrine.ʺ As is relevant here, the district court denied defendantsʹ motions

to dismiss with respect to the FSIA and act of state issues. They timely appealed

the FSIA ruling and the district court subsequently certified the act of state issue

for our interlocutory review.




                                         15
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page16
                                                            Page 17ofof3945




                                   DISCUSSION

             Two issues are presented. First, we consider whether the federal

courts have subject matter jurisdiction over this case under the FSIA. Second, we

address defendantsʹ arguments based on the act of state doctrine.

I.    Subject matter jurisdiction under the FSIA

      A.     Applicable law

             Our jurisdiction over the district courtʹs FSIA ruling is premised on

the collateral order doctrine, which ʺallows an immediate appeal from an order

denying immunity under the FSIA.ʺ Kensington Intʹl Ltd. v. Itoua, 505 F.3d 147,

153 (2d Cir. 2007) (citation omitted). We review de novo ʺa district courtʹs legal

determinations regarding its subject matter jurisdiction, such as whether

sovereign immunity exists,ʺ and its factual determinations for clear error. Filler

v. Hanvit Bank, 378 F.3d 213, 216 (2d Cir. 2004). ʺIn determining whether an

exception to the FSIA applies, the district court can and should consider matters

outside the pleadings relevant to the issue of jurisdiction,ʺ and we do the same

on appeal. Kensington, 505 F.3d at 153.

             The FSIA ʺprovides the sole basis for obtaining jurisdiction over a

foreign state in the courts of this country.ʺ Argentine Republic v. Amerada Hess



                                          16
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page17
                                                            Page 18ofof3945




Shipping Corp., 488 U.S. 428, 443 (1989). ʺThe Act states that a ʹforeign state shall

be immune from the jurisdiction of the courts of the United States and of the

States except as provided in sections 1605 to 1607.ʹʺ Rogers v. Petroleo Brasileiro,

S.A., 673 F.3d 131, 136 (2d Cir. 2012) (quoting 28 U.S.C. § 1604). Here, the parties

do not dispute that Argentina is a foreign state and YPF is an instrumentality of

Argentina and therefore Petersen has ʺthe burden of going forward with

evidence showing that, under exceptions to the FSIA, immunity should not be

granted.ʺ Kensington, 505 F.3d at 153 (citation omitted). ʺWhere the plaintiff

satisfies [its] burden that an FSIA exception applies, the foreign sovereign then

bears the ultimate burden of persuasion that the FSIA exception does not apply.ʺ

Swarna v. Al‐Awadi, 622 F.3d 123, 143 (2d Cir. 2010).

             The exception relevant here, the commercial activity exception,

provides as follows:

             A foreign state shall not be immune from the
             jurisdiction of courts of the United States . . . in any case
             . . . in which the action is based [1] upon a commercial
             activity carried on in the United States by the foreign
             state; or [2] upon an act performed in the United States
             in connection with a commercial activity of the foreign
             state elsewhere; or [3] upon an act outside the territory
             of the United States in connection with a commercial
             activity of the foreign state elsewhere and that act
             causes a direct effect in the United States.

                                          17
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page18
                                                             Page 19ofof3945




28 U.S.C. § 1605(a)(2). As for these conditions ʺ[a] plaintiff need only show that

one of [them] is met for the commercial activities exception to apply.ʺ

Kensington, 505 F.3d at 154.

              Below, the district court held that Petersenʹs claims satisfy the third

condition, known as the ʺdirect‐effect clause.ʺ To establish jurisdiction on that

basis, the action must be ʺ(1) based . . . upon an act outside the territory of the

United States; (2) that was taken in connection with a commercial activity of

Argentina outside this country; and (3) that cause[d] a direct effect in the United

States.ʺ Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 611 (1992) (alteration

in original) (internal quotation marks omitted).

              As to the first element, ʺwe must identify the act of the foreign

sovereign State that serves as the basis for plaintiffsʹ claims.ʺ Garb, 440 F.3d at

586. What matters for this inquiry is that the challenged ʺaction is ʹbased uponʹ

the ʹparticular conductʹ that constitutes the ʹgravamenʹ of the suit.ʺ OBB

Personenverkehr AG v. Sachs, 136 S. Ct. 390, 396 (2015). The Supreme Court has

instructed us to ʺzero[] in on the core of [the plaintiffsʹ] suit: the . . . acts that

actually injured them.ʺ Id.




                                            18
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page19
                                                            Page 20ofof3945




             As to the second element, ʺthe Act defines ʹcommercial activityʹ as

ʹeither a regular course of commercial conduct or a particular commercial

transaction or act,ʹ and provides that ʹ[t]he commercial character of an activity

shall be determined by reference to the nature of the course of conduct or

particular transaction or act, rather than by reference to its purpose.ʹʺ Saudi

Arabia v. Nelson, 507 U.S. 349, 358‐59 (1993) (quoting 28 U.S.C. § 1603(d)). A state

engages in ʺcommercial activity . . . only where it acts ʹin the manner of a private

player withinʹ the marketʺ or, put differently, ʺwhere it exercises ʹonly those

powers that can also be exercised by private citizens,ʹ as distinct from those

ʹpowers peculiar to sovereigns.ʹʺ Id. at 360. For example, ʺa foreign stateʹs

repudiation of a contract is precisely the type of activity in which a private player

within the market engages.ʺ De Csepel v. Republic of Hungary, 714 F.3d 591, 599

(D.C. Cir. 2013) (citation and internal quotation marks omitted). By contrast,

ʺexpropriations . . . do not fall within the ʹcommercial activityʹ exception of the

FSIA [because] [e]xpropriation is a decidedly sovereign ‐‐ rather than commercial

‐‐ activity.ʺ Garb, 440 F.3d at 586.

             As to the third element, ʺa direct effect in the United States,ʺ ʺto be

direct, an effect need not be substantial or foreseeable, but rather must simply



                                          19
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page20
                                                            Page 21ofof3945




follow[] as an immediate consequence of the defendantʹs . . . activity.ʺ Atlantica

Holdings, Inc. v. Sovereign Wealth Fund Samruk‐Kazyna JSC, 813 F.3d 98, 108 (2d

Cir. 2016) (alteration in original) (internal quotation marks omitted).

             B.     Application

             With these principles in mind, we turn to defendantsʹ arguments

that this case does not fall within the FSIAʹs commercial activity exception. We

first consider Argentinaʹs contention that Petersenʹs claims are in fact based on

sovereign acts, rather than commercial ones, and then we address YPFʹs

arguments that it too is entitled to immunity under the FSIA.

                    1.     Argentina

             Argentina does not challenge the district courtʹs conclusion that its

breach of the bylawsʹ tender offer requirements caused a direct effect in the

United States. And we agree with that conclusion because those provisions

required Argentina to tender for ADRs listed on the NYSE and ʺcourts have

consistently held that, in contract cases, a breach of a contractual duty causes a

direct effect in the United States sufficient to confer FSIA jurisdiction [if] the

United States is the place of performance for the breached duty.ʺ Id. at 108‐09.




                                          20
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page21
                                                            Page 22ofof3945




             Instead, Argentina argues that Petersenʹs claims are ʺbased onʺ the

sovereign act of expropriation, rather than any commercial activity, thereby

rendering the FSIAʹs commercial activity exception inapplicable. It premises this

argument on three claims about the nature of Petersenʹs lawsuit. First, Argentina

asserts that the complaint misinterprets the bylaws, obscuring that the breach

Petersen complains of is actually Argentinaʹs sovereign expropriation of Repsolʹs

51% ownership stake in YPF, rather than the failure to conduct a tender offer.

Second, Argentina contends that it could not have complied with both the YPF

Expropriation Law and the bylawsʹ tender offer requirement because the former

required Argentina to acquire 51% ownership of YPF and no greater amount.

Third, Argentina characterizes Petersenʹs claims as an impermissible effort to

ʺenforce the bylaws.ʺ Argentina Reply Br. 2. We discuss each argument, in turn.

             Argentina first contends that the district court erred in accepting

Petersenʹs interpretation that YPFʹs bylaws permitted Argentina to conduct a

tender offer after it acquired a controlling interest in YPF. According to

Argentina, the bylaws instead required Argentina to acquire its majority

ownership position through the tender offer process contemplated in the bylaws.

Argentina, in this view, breached the bylaws (if at all) by acquiring Repsolʹs stock



                                         21
        Case
         Case1:15-cv-02739-LAP
               16-3303, DocumentDocument  75 Filed 2542171,
                                194-2, 04/17/2019, 04/17/19 Page22
                                                             Page 23ofof3945




through the expropriation instead of a tender offer. So understood, Petersenʹs

lawsuit is not ʺbased onʺ Argentinaʹs commercial activity; rather, it is based on a

decidedly sovereign act, i.e., the expropriation of Repsolʹs shares. Consequently,

Argentina argues that Petersenʹs lawsuit falls outside of the FSIAʹs commercial

activity exception.

                 We are not persuaded. Looking, as we must, to ʺthe core of [the

plaintiffsʹ] suit,ʺ i.e., ʺthe . . . acts that actually injured them,ʺ OBB Personenverkehr,

136 S. Ct. at 396, we conclude that Petersen seeks relief for injuries caused by

commercial, rather than sovereign, activity.

                 To start, we agree with the district court that, under the bylaws,

Argentinaʹs expropriation triggered an obligation to make a tender offer for the

remainder of YPFʹs outstanding shares. Argentinaʹs contrary interpretation, i.e.,

that the bylaws required Argentina to conduct a tender offer in order to acquire

Repsolʹs 51% stake in YPF (meaning that the expropriation itself was Argentinaʹs

breach, rather than its subsequent failure to make a tender offer) rests on a

misreading of the bylaws. To recap, section 28(A) of the bylaws provides in its

totality that:

                 The provisions of subsections e) and f) of Section 7
                 (with the sole exception of the provisions of paragraph

                                             22
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page23
                                                            Page 24ofof3945




            B of the said Section) shall apply to all acquisitions
            made by the National Government, whether directly or
            indirectly, by any means or instrument, of shares or
            securities of the Corporation, 1) if, as a consequence of
            such acquisition, the National Government becomes the
            owner [of], or exercises the control of, the shares of the
            Corporation, which, in addition to the prior holdings
            thereof of any class of shares, represent, in the
            aggregate, at least 49% of the capital stock; or 2) if the
            National Government acquires at least 8% of class D
            outstanding shares of stock, while withholding class A
            shares of stock amounting at least to 5% of the capital
            stock provided for in subsection (a) of section 6 of these
            By‐laws upon registration thereof with the Public
            Registry of Commerce. Should class A shares represent
            a lower percentage than the one previously mentioned,
            the provisions set forth in point 2) of this Section shall
            not be applicable. Instead, the general criteria set forth
            in subsection d) of Section 7 shall apply.

App. 432. Admittedly, the wording of this bylaw is not a paragon of clarity, a

defect that is no doubt exacerbated by the provisionʹs translation into English

from the Spanish language original. But we can divine its meaning if, for the

sake of simplicity, we unpack some of the cross references and omit certain

clauses that do not apply to this case. Recall, for example, that the tender oﬀer

requirements are found in ʺ[t]he provisions of subsections e) and f) of Section 7,ʺ

App. 432, and that we are concerned only with Argentinaʹs expropriation of

Repsolʹs 51% ownership stake. With these facts in mind, section 28(A) can be

fairly rephrased as follows:
                                        23
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page24
                                                            Page 25ofof3945




             The [obligation to make a tender oﬀer] shall apply to
             [Argentinaʹs acquisition of YPFʹs shares] . . . by any
             means or instrument . . . if, as a consequence of such
             acquisition, [Argentina] becomes the owner [of], or
             exercises the control of, . . . at least 49% of the capital
             stock [of YPF] . . . .

App. 432. Simply put, section 28(A) compels Argentina to make a tender offer in

accordance with the procedures set forth in the bylaws if ʺby any means or

instrumentʺ it ʺbecomes the owner [of], or exercises the control of,ʺ at least 49%

of YPFʹs capital stock. App. 432 (emphasis added).

             This interpretation is bolstered by the language of section 7(d),

which determines whether acquirers other than Argentina must make a tender

offer. That bylaw provides that ʺ[i]f the terms of subsections e) and f) of this

section are not complied with, it shall be forbidden to acquire shares or securities of

the Corporation . . . if, as a result of such acquisition, the purchaser becomes the

holder of,ʺ inter alia, ʺ[15%] or more of the capital stock.ʺ App. 338 (emphasis

added). As the italicized language demonstrates, when the drafters of the

bylaws, namely, YPF and Argentina, wanted to ensure that certain acquisitions

would proceed only through a tender offer process, they used language that flatly

forbade non‐conforming acquisitions. By contrast, the absence of any similar

prohibitory language in section 28(A) suggests that Argentinaʹs acquisition of a


                                            24
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page25
                                                            Page 26ofof3945




control position is different in that it merely triggers a separate obligation to

make a tender offer. In other words, in contrast to a hostile takeover by a private

actor, Argentinaʹs acquisition of a control position, as such, did not have to be

accomplished through the tender offer.

             Under this reading of the contract, we conclude that Petersenʹs

lawsuit is ʺbased onʺ Argentinaʹs breach of a commercial obligation. The

gravamen of Petersenʹs claim is that Argentina denied Petersen the benefit of the

bargain promised by YPFʹs bylaws when Argentina repudiated its obligation to

tender for Petersenʹs shares. As the district court noted, when Argentina

expropriated Repsolʹs 51% stake in YPF, it incurred the obligation under section

28(A) of YPFʹs bylaws to make a tender offer for the remainder of YPFʹs

outstanding shares. That obligation and Argentinaʹs subsequent repudiation of it

were indisputably commercial in nature in that they are ʺthe type of actions by

which a private party engages in trade and traffic or commerce.ʺ Weltover, 504

U.S. at 614 (citation and internal quotation marks omitted); accord De Csepel, 714

F.3d at 599 (ʺ[A] foreign stateʹs repudiation of a contract is precisely the type of

activity in which a private player within the market engages.ʺ (citation and

internal quotation marks omitted)). Indeed, as noted above, the bylaws impose



                                          25
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page26
                                                            Page 27ofof3945




similar obligations on others who seek to acquire large ownership stakes in YPF,

and the record shows that those commercial actors, including Petersen,

conducted tender offers when so required. Although Argentinaʹs obligation to

conduct a tender offer in this case was triggered by its sovereign act of

expropriation, see Garb, 440 F.3d at 586 (ʺExpropriation is a decidedly sovereign ‐‐

rather than commercial ‐‐ activity.ʺ), there is nothing unusual about conditioning

a commercial obligation on the occurrence of a sovereign act, even when the

sovereign itself is one of the parties to the contract, see, e.g., Guevara v. Republic of

Peru, 468 F.3d 1289, 1300 (11th Cir. 2006) (discussing a hypothetical contract

wherein a sovereign conditioned its payment on a contract ʺto buy bullets from a

private manufacturer . . . on it declaring war on a neighbor before the scheduled

date of deliveryʺ and concluding that ʺ[t]he condition precedent of a declaration

of war . . . does not change the commercial nature of the acts of purchasing and

payingʺ for the bullets); Restatement (Second) of Contracts § 264, ill. 3.

Moreover, as the district court correctly observed, ʺ[t]he commercial contractual

obligations at issue here could just as easily have been triggered by Argentinaʹs

acquisition of a controlling stake in YPF in open‐market transactions.ʺ S. App.




                                           26
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page27
                                                            Page 28ofof3945




17. Accordingly, for these reasons, we conclude that Argentinaʹs breach of those

obligations was a commercial act, not a sovereign one.

             We turn next to Argentinaʹs contentions that (1) it could not have

complied with both the bylaws and the YPF Expropriation Law at the time of its

breach and (2) Petersenʹs lawsuit is an ex post facto attempt to ʺenforce the

bylaws.ʺ Argentina Reply Br. 2. Both arguments fail.

             As to the first argument, we see no reason why Argentina could not

have complied with both the bylawsʹ tender offer requirements and the YPF

Expropriation Law. In support of its argument to the contrary, Argentina relies

on the declaration of an expert witness who opines that ʺthe YPF Bylaws cannot

validly restrict, limit, or in any way affect the exercise of sovereign powers of the

National Government in general and regarding expropriations in particular.ʺ

App. 214. Because its expropriation powers trump the bylaws and ʺrequiring

any post‐expropriation tender for the remaining YPF shares would be

inconsistent with the [YPF] Expropriation Lawʹs requirement that Argentina

acquire exactly 51% ownership in YPF,ʺ Argentina Br. 39, Argentina contends that

it could not have complied with both obligations and thus the YPF Expropriation

Law prevails. Finally, Argentina avers that, pursuant to our opinion in In re



                                         27
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page28
                                                            Page 29ofof3945




Vitamin C Antitrust Litigation, 837 F.3d 175 (2d Cir. 2016), we must defer to its

expertʹs interpretation of Argentine law. Again, we are not persuaded.

             Starting with the latter argument, In re Vitamin C Antitrust Litigation

has now been reversed by the Supreme Court, in Animal Science Products, Inc. v.

Hebei Welcome Pharmaceutical Co., 138 S. Ct. 1865 (2018). The Supreme Court in

Animal Science rejected our ruling in Vitamin C that federal courts are ʺbound to

deferʺ to a foreign governmentʹs construction of its own law, 837 F.3d at 189, and

instead held that ʺ[a] federal court should accord respectful consideration to a

foreign governmentʹs submission, but is not bound to accord conclusive effect to

the foreign governmentʹs statements.ʺ Animal Sciences, 138 S. Ct. at 1869.

             Here, even according respectful consideration to Argentinaʹs views,

we do not find that the expertʹs interpretation supports Argentinaʹs argument

that ʺany post‐expropriation tender for the remaining YPF shares would be

inconsistent with the [YPF] Expropriation Lawʹs requirement that Argentina

acquire exactly 51% ownership in YPF.ʺ Argentina Br. 39. In particular, there is

no provision in the YPF Expropriation Law itself and no statement in the expertʹs

opinion that the law compelled Argentina to ʺacquire exactly 51% ownership in

YPFʺ and no greater ownership position. Argentina Br. 39 (emphasis in original).



                                         28
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page29
                                                            Page 30ofof3945




               To the contrary, as noted above, the YPF Expropriation Law declares

only that to ensure ʺself‐sufficiency in hydrocarbon[] supply,ʺ App. 165, and to

integrate ʺpublic and private . . . capital into strategic alliances aimed at the

exploration and exploitation of conventional and unconventional hydrocarbons,ʺ

App. 166, ʺthe fifty‐one percent (51%) equity interest in YPF Sociedad Anónima

represented by the same percentage of Class D shares of the said Company, held

by Repsol YPF S.A., its controlled or controlling entities, directly or indirectly, is

hereby declared to be of public use and subject to expropriation,ʺ App. 167. The

law further provides that YPF shall remain a publicly‐traded company after the

expropriation and ʺshall not be subject to any legislation or regulation applicable

to the administration, management and control of companies or entities partly

owned by the national or provincial governmentsʺ of Argentina, confirming that

YPF would continue its normal commercial activities after the expropriation.

App. 169. At bottom, the YPF Expropriation Law does not prohibit a post‐

expropriation tender oﬀer under YPFʹs bylaws; indeed, it says absolutely nothing

about Argentinaʹs acquisition of additional YPF shares in a subsequent market

transaction.




                                          29
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page30
                                                            Page 31ofof3945




             Similarly, Argentinaʹs expert opines only that (1) Argentinaʹs

sovereign power of expropriation cannot be limited by private agreement, (2)

ʺthe expropriation of YPF shares for reasons of public use . . . prevails over

clauses in . . . a private corporate agreementʺ such as the bylaws, and (3) ʺin [his]

opinion, [he did] not perceive, in the process of intervention of YPF or in the

temporary occupation and subsequent expropriation of shares, that there was

any violation of constitutional or legal norms under Argentine law.ʺ App. 218.

Again, none of these opinions support the proposition that Argentina was

required by law to acquire exactly 51% of YPF, no more and no less.

Accordingly, even if we were to accord deference to Argentinaʹs legal expert

pursuant to In re Vitamin C Antitrust Litigation, we conclude that his opinion does

not establish what Argentina says it does. Although we are mindful of the

deference we owe to foreign sovereigns as to the construction of their laws, we

simply see no basis in the record for concluding that Argentina could not have

complied with both the YPF Expropriation Law and the bylawsʹ tender offer

requirements by launching a post‐expropriation tender offer.

             As to Argentinaʹs last argument on the FSIA issue, it is unclear what

Argentina means when it characterizes Petersenʹs lawsuit as an attempt to



                                         30
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page31
                                                            Page 32ofof3945




ʺenforce the bylaws.ʺ Argentina Reply Br. 2. To the extent that Argentina is

suggesting that Petersen wants a court to order Argentina to conduct a tender

offer now, such argument is baseless. Petersenʹs complaint does not seek a

specific performance remedy. Nor could it for Petersen is no longer a YPF

shareholder and therefore could not perform its obligation to tender shares in the

event of a court‐ordered tender offer. Restatement (Second) Contracts § 363,

cmts. a & b (plaintiffʹs ability to perform its obligations under the contract is a

prerequisite to a specific performance remedy). Rather, Petersen merely seeks

compensatory damages for Argentinaʹs breach of its tender offer obligation in

2012. The award of such damages would no more ʺenforce the bylawsʺ than an

award of damages in any breach of contract case would enforce the contract

forming the basis of the plaintiffʹs suit.

             In sum, we conclude that when Argentina asserted control over

Repsolʹs 51% stake in YPF via expropriation, it incurred a separate commercial

obligation under the bylaws to make a tender offer for the remainder of YPFʹs

outstanding shares. Because Petersen claims it was injured by Argentinaʹs

repudiation of that commercial obligation and we conclude that the repudiation

was an act separate and apart from Argentinaʹs expropriation of Repsolʹs shares,



                                             31
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page32
                                                            Page 33ofof3945




we hold that Petersenʹs action against Argentina falls within the ʺdirect‐effects

clauseʺ of the FSIA.

                    2.     YPF

             As a threshold matter, we note that although YPF became an

instrumentality of Argentina by virtue of the expropriation of Repsolʹs shares, see

28 U.S.C. § 1603(b)(2) (an ʺinstrumentality of a foreign stateʺ is, inter alia, ʺany

entity . . . a majority of whose shares or other ownership interest is owned by a

foreign stateʺ), that fact does not render all of its subsequent conduct ʺsovereign,ʺ

rather than ʺcommercial,ʺ in nature. See Gemini Shipping, Inc. v. Foreign Trade Org.

for Chems. & Foodstuffs, 647 F.2d 317, 318‐20 (2d Cir. 1981) (noting that a foreign

instrumentality can engage in commercial activity sufficient to bring such

conduct within FSIAʹs commercial activity exception). Instead, the inquiry

remains whether YPF ʺact[ed] in the manner of a private player within the

market,ʺ or whether ʺit exercise[d] . . . powers peculiar to sovereigns.ʺ Nelson, 507

U.S. at 360 (citations and internal quotation marks omitted).

             YPF raises two objections to maintaining subject matter jurisdiction

over this case under the FSIA. First, it argues that the gravamen of Petersenʹs

claims against it is its alleged failure to stop Argentina from voting Repsolʹs



                                           32
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page33
                                                            Page 34ofof3945




expropriated shares and that such act was in compliance with Argentinaʹs

sovereign expropriation and thus not a commercial activity. Second, YPF

contends that its failure to stop Argentina from exercising corporate governance

powers conferred by Repsolʹs shares had no direct effect in the United States.

             Petersen responds, correctly in our view, that YPFʹs arguments

ignore that Petersen alleges two separate breaches of YPFʹs bylaws. The

complaint alleges that YPF breached the bylaws by (1) failing to enforce the

bylawsʹ tender offer provisions vis‐à‐vis Argentina and (2) failing to enforce the

penalties that section 7(h) imposes on shareholders who have breached their

tender offer obligations. As for Petersenʹs first theory of the case, we conclude

that the claim against YPF falls within the ʺdirect‐effect clauseʺ of FSIAʹs

commercial activity exception for the same reasons that the analogous claim

against Argentina does. That is, YPFʹs obligation to enforce the tender offer

provision triggered by Argentinaʹs expropriation of Repsolʹs 51% ownership

stake is commercial in nature ‐‐ indeed, every corporation is obligated to abide

by its bylaws, see, e.g., Boilermakers Local 154 Ret. Fund v. Chevron Corp., 73 A.3d

934, 938‐40 (Del. Ch. 2013) ‐‐ and YPFʹs failure to do so caused a direct effect in

the United States, namely, the required tender for ADRs listed on the NYSE



                                          33
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page34
                                                            Page 35ofof3945




never took place. See Atlantica Holdings, 813 F.3d at 108‐09 (ʺ[C]ourts have

consistently held that, in contract cases, a breach of a contractual duty causes a

direct effect in the United States sufficient to confer FSIA jurisdiction [if] the

United States is the place of performance for the breached duty.ʺ).

             As for Petersenʹs second theory of liability, we conclude that YPFʹs

failure to enforce the penalties imposed by section 7(h) is of a piece with its

failure to enforce the tender offer provisions. Like those latter provisions, section

7(h) implicates the commercial affairs of YPF, i.e., what voting rights attach to

which shares and which shares are entitled to collect dividends, and thus its

enforcement or non‐enforcement constitutes commercial activity. To be sure, the

YPF Expropriation Law granted Argentina the right to exercise the voting rights

associated with Respsolʹs shares, but YPF has not explained how that fact

transforms its own failure to enforce the bylaws into an exercise of ʺpowers

peculiar to sovereigns.ʺ Nelson, 507 U.S. at 360. What is more, as noted, the YPF

Expropriation Law explicitly stated that the firm would remain a publicly‐traded

company, subject to laws applicable to private, rather than government‐owned

companies. This fact cuts against YPFʹs contention that it was somehow acting as

a sovereign. Furthermore, YPFʹs refusal to enforce section 7(h)ʹs penalties had a



                                          34
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page35
                                                            Page 36ofof3945




direct effect in the United States because (1) it enabled Argentina to cancel

planned dividend payments, some of which would have been made to investors

based in the United States, and (2) it precipitated Petersenʹs default on its loan

obligations and the subsequent foreclosure of Petersenʹs ADRs, which were held

by the Bank of New York Mellon in New York City.

             Accordingly, we conclude that Petersenʹs claims against YPF also fall

within the ʺdirect‐effect clauseʺ of the FSIAʹs commercial activity exception.

                                        ***

             The thrust of defendantsʹ arguments on appeal is that Petersen has

engaged in a form of artful pleading that we have previously rejected. They

contend that Petersen has re‐characterized Argentinaʹs expropriation of Repsolʹs

shares as a commercial act, rather than a sovereign one, so as to trigger

application of the FSIAʹs commercial activity exception. See Garb, 440 F.3d at 588

(ʺFederal courts have repeatedly rejected litigantsʹ attempts to establish subject

matter jurisdiction pursuant to . . . FSIA exceptions when their claims are in

essence based on disputed takings of property.ʺ). Based on our review of the

complaint and the record before us, however, we are satisfied that Petersen is not

challenging the expropriation.



                                         35
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page36
                                                            Page 37ofof3945




            As noted above, Argentinaʹs expropriation powers are vast. Indeed,

it could have expropriated the entirety of YPF, some smaller portion of the firm

such as the 25% stake owned by Petersen, or even just the contractual rights of

shareholders to receive tender oﬀers in accordance with the bylaws. Of course,

had Argentina done any of these things, it would have been obligated by its own

law to compensate Petersen for ʺthe objective value of the propertyʺ it

expropriated, ʺplus any direct and immediate damages resulting from

expropriation.ʺ App. 187. And we agree that a lawsuit based on such

expropriations would fall outside of the FSIAʹs commercial activity exception.

            Argentina, however, did not expropriate anything from Petersen. To

be sure, it did expropriate Repsolʹs 51% stake in YPF. But, Petersen does not

challenge that, or any other sovereign act. Instead, Petersen wants a court to

award it the benefit of the bargain that Argentina and YPF struck with each

shareholder who purchased YPF shares on the open market. Petersen claims that

defendants repudiated that bargain when they refused to conduct a tender oﬀer

in accordance with YPFʹs bylaws, despite having incurred the obligation to do so

by virtue of Argentinaʹs acquisition of a controlling stake in the firm. The

ʺgravamenʺ of Petersenʹs lawsuit is thus the defendantsʹ repudiation of a contract



                                         36
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page37
                                                            Page 38ofof3945




that had a direct eﬀect in the United States. OBB Personenverkehr, 136 S. Ct. at

396. Sovereigns are not immune from such lawsuits under the FSIA. See

Weltover, 504 U.S. at 614‐15.

      The Act of State Doctrine

             As noted, we have appellate jurisdiction over the issue of the

defendantsʹ immunity from suit under the FSIA under the collateral order

doctrine, pursuant to which the district courtʹs order denying such immunity

was immediately appealable. See Atlantica Holdings, 813 F.3d at 105. By contrast,

the district courtʹs denial of defendantsʹ motions to dismiss under the act of state

doctrine, which were brought pursuant to Federal Rule of Civil Procedure

12(b)(6), is not immediately appealable. See Will v. Hallock, 546 U.S. 345, 351

(2006); see also Balintulo v. Daimler AG, 727 F.3d 174, 186 (2d Cir. 2013) (ʺAs a

general matter, denials of a motion to dismiss are not appealable as ʹfinal

decisionsʹ of the district courts under 28 U.S.C. § 1291.ʺ).

             Interlocutory orders that are otherwise non‐appealable, however,

may be reviewed under 28 U.S.C. § 1292(b) if the district court is ʺof the opinion

that [the relevant] order involves a controlling question of law as to which there

is substantial ground for difference of opinion and that an immediate appeal



                                          37
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page38
                                                            Page 39ofof3945




from the order may materially advance the ultimate termination of the

litigation.ʺ 28 U.S.C. § 1292(b); see McDonnell Douglas Fin. Corp. v. Penn. Power &

Light Co., 849 F.2d 761, 764 (2d Cir. 1988). If, as here, the district court certifies an

appeal, the Court of Appeals may then, ʺin its discretion, permit an appeal to be

taken from such order.ʺ 28 U.S.C. § 1292(b).

             We exercise our discretion not to accept jurisdiction over this aspect

of the appeal. The act of state doctrine provides an affirmative defense and was

raised below on a motion to dismiss pursuant to Rule 12(b)(6). Dismissal was

warranted only if the doctrineʹs applicability was ʺshown on the face of the

complaint.ʺ Konowaloff v. Metro. Museum of Art, 702 F.3d 140, 146 (2d Cir. 2012);

accord Daventree Ltd. v. Republic of Azerbaijan, 349 F. Supp. 2d 736, 755 (S.D.N.Y.

2004) (ʺAs a substantive rather than a jurisdictional defense, the Act of State

doctrine is more appropriately raised in a motion for summary judgment than in

a motion to dismiss.ʺ). As discussed above, the face of Petersenʹs complaint

makes clear that it is not challenging Argentinaʹs official acts ‐‐ the expropriation

of property ‐‐ and the complaintʹs allegations that Argentina and YPF breached

their obligations by failing to engage in a tender offer did not require the district

court to rule on the validity of any of Argentinaʹs official acts. At this juncture of



                                           38
       Case
        Case1:15-cv-02739-LAP
              16-3303, DocumentDocument  75 Filed 2542171,
                               194-2, 04/17/2019, 04/17/19 Page39
                                                            Page 40ofof3945




the proceedings, the act of state doctrine does not present the kind of legal

question that normally constitutes a ʺcontrolling question of law.ʺ Whether the

act of state doctrine bars Petersenʹs claims is a merits determination that turns on

the facts. In these circumstances, we decline to reach the issue. Accordingly, we

dismiss the portion of this appeal challenging the district courtʹs ruling on the

defendantsʹ act of state defense.

                                    CONCLUSION

             For the foregoing reasons, we AFFIRM the district courtʹs order

holding that Argentina and YPF are not immune from suit under the FSIA and

DISMISS the portion of this appeal challenging the district courtʹs ruling on the

defendantsʹ act of state defense.




                                         39
       Case 1:15-cv-02739-LAP
         Case                 Document
               16-3303, Document         75 Filed 04/17/19
                                 194-3, 04/17/2019, 2542171, Page
                                                             Page141ofof5 45




WINTER, Circuit Judge, concurring in part and dissenting in part:

             I agree entirely with the excellent discussion and ruling as to

whether FSIA immunizes Argentina and YPF. I dissent from the disposition of

the act‐of‐state issue.

             Having rejected the Section 1292(b) motion that we hear an

interlocutory appeal ‐‐ otherwise non‐appealable ‐‐ from the district courtʹs

rejection on the pleadings of the act‐of‐state defense, my colleaguesʹ opinion is

quite clear that we lack jurisdiction over the act‐of‐state issue. It is less clear in

stating that the reason for rejecting the motion is that the issue depends on

ʺfacts.ʺ The district court ruled that the facts alleged in the complaint stated a

claim that was not subject to the act‐of‐state defense. My colleaguesʹ conclusion

that fact‐finding is needed to rule on the issue is a merits decision going to the

nature and contours of the act‐of‐state defense. Such a conclusion seems,

therefore, inconsistent with the ruling that we lack jurisdiction over the issue.

Because the reasons we give for rejecting FSIA immunity are that the harm to

plaintiffs was not caused by a sovereign, rather than commercial, act of the

Argentinian state, that portion of the opinionʹs reasoning also calls for a rejection

of the act‐of‐state defense to the claim as alleged.
       Case 1:15-cv-02739-LAP
         Case                 Document
               16-3303, Document         75 Filed 04/17/19
                                 194-3, 04/17/2019, 2542171, Page
                                                             Page242ofof5 45




             A brief review of the relevant procedural history is in order. The

defendants moved to dismiss the complaint on the basis that the district court

lacked subject matter jurisdiction under the FSIA and that Petersenʹs claims were

barred by the act‐of‐state doctrine. The district court denied the defendantsʹ

motion on both fronts. The first issue ‐‐ FSIA immunity ‐‐ was immediately

appealable under the collateral order doctrine. Kensington Intʹl Ltd. v. Itoua, 505

F.3d 147, 153 (2d Cir. 2007). The rejection of the act‐of‐state defense was

interlocutory and not immediately appealable. The district court, believing the

conditions of Section 1292(b) had been met, certified the appeal so that we could

decide both issues in tandem. Argentina and YPF then moved this court to grant

leave for immediate appeal of the act‐of‐state issue. 2d Cir. Dkt. Nos. 16‐3510,

16‐3512. No opposition was filed to these motions. The motions were referred to

a motions panel, which then referred them to the merits panel –‐ this panel –‐ so

that ʺ[t]hat panel can decide, in the first instance, whether the act‐of‐state issue is

appropriate for immediate appeal pursuant to . . . § 1292(b).ʺ Motion Order, 2d

Cir. Dkt. No. 16‐3510 (Feb. 14, 2017).

             Pursuant to 28 U.S.C. § 1292(b), we have discretion to allow an

appeal to be taken from an order not otherwise appealable when the district



                                           2
       Case 1:15-cv-02739-LAP
         Case                 Document
               16-3303, Document         75 Filed 04/17/19
                                 194-3, 04/17/2019, 2542171, Page
                                                             Page343ofof5 45




judge states in writing ʺthat such order [1] involves a controlling question of law

[2] as to which there is substantial ground for difference of opinion and [3] that

an immediate appeal from the order may materially advance the ultimate

termination of the litigation.ʺ (brackets added). In my view, the established

standards under Section 1292(b) are satisfied.

             First, a controlling question of law is present. Reversing the district

courtʹs holding that the act‐of‐state doctrine ʺdoes not preclude inquiry into

contractual obligations related to or arising out of [acts of expropriation],ʺ would

result in dismissal of the case. See Klinghoffer v. S.N.C. Achille Lauro, 921 F.2d 21,

24 (2d Cir. 1990) (ʺ[I]t is clear that a question of law is ʹcontrollingʹ if reversal of

the district courtʹs order would terminate the action.ʺ); In re Duplan Corp., 591

F.2d 139, 148 n.11 (2d Cir. 1978).

             Second, there is substantial ground for difference of opinion; in

particular, whether Argentinaʹs obligation under the bylaws to make a tender

offer was independent of Argentinaʹs sovereign acts of intervention and

expropriation.

             Finally, an immediate appeal would materially advance the ultimate

termination of the case. Judicial efficiency would be served by deciding both this



                                            3
        Case 1:15-cv-02739-LAP
          Case                 Document
                16-3303, Document         75 Filed 04/17/19
                                  194-3, 04/17/2019, 2542171, Page
                                                              Page444ofof5 45




issue and the FSIA question simultaneously. My colleaguesʹ conclusion as to the

lack of immunity under FSIA is that the facts alleged in the complaint do not

state a claim that implicates a sovereign, rather than commercial, act of the

Argentinian state. This conclusion resolves both the FSIA issue and the act‐of‐

state defense. Only a paragraph, if that, would be necessary to explain an

affirmance of the certified appeal if we took jurisdiction. We need say only that

assertion of an act‐of‐state defense requires that a sovereign, rather than

commercial, act has caused the harm to the plaintiffs, and no such act occurred

here.

             Instead, my colleagues deny the motion, hold that we lack appellate

jurisdiction, and explain these rulings on the grounds that unspecified ʺfactsʺ are

needed to adjudicate the act‐of‐state defense. While the reason given suggests a

remand for further proceedings, my colleaguesʹ jurisdictional ruling leaves the

dismissal of the act‐of‐state defense in place and governed by the law of the case

doctrine in the district court. See Am. Hotel Intʹl Grp., Inc. v. OneBeacon Ins. Co.,

611 F. Supp. 2d 373, 378‐79 (S.D.N.Y. 2009) affʹd, 374 F. Appʹx 71 (2d Cir. 2010).




                                           4
       Case 1:15-cv-02739-LAP
         Case                 Document
               16-3303, Document         75 Filed 04/17/19
                                 194-3, 04/17/2019, 2542171, Page
                                                             Page545ofof5 45




             I therefore concur in the affirmance on the FSIA issue. I dissent from

the denial of the Section 1292(b) motion and would affirm the dismissal of the

act‐of‐state defense to the claim alleged in the complaint.




                                         5
